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UNITED STATES DISTRICT COURT                                                           DATE FILED: . 1o ,f-;i_ 0 J::i. n
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                                                      ORDER

                      -   V.       -                                                          19 Cr. 903        (KMW)

JORGE SOTO,

                     Defendant.

 -   -   -   -   -    -   -    -       -   -   -    -   -   -   -   -   - X


                     WHEREAS,              with the defendant's consent,                          his guilty plea

allocution was made before a United States Magistrate Judge on

October 5, 2020;

                     WHEREAS,              a       transcript of                the al locution was made and

thereafter was transmitted to the District Court; and

                     WHEREAS, upon re v iew of that transcript, this Court has

determined that the defendant entered the guilty plea knowingly

and voluntarily and that there was a factual basis for the guilty

plea;
         Case 1:19-cr-00903-KMW Document 44 Filed 10/20/20 Page 2 of 2




             IT IS HEREBY ORDERED that the defendant's guilty plea is

accepted.

Dated:    New York, New York
          October ~o, 2020


                                    SO ORDERED:


                                       l ~lfrt~ V>C. wrt'l(
                                    H~NORABLE KIMBA M. WOOU
                                    UNITED STATES DISTRICT JUDGE
                                    SOUTHERN DISTRICT OF NEW YORK
